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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


David A. Alvarado,                      )
                                        )
            Plaintiff,                  )
                                        )
                                        )
      v.                                )    No. 25 C 989
                                        )
                                        )
The Raymond Corporation, Drew           )
Enterprises LLC, and Bay State          )
Milling Company,                        )
                                        )
            Defendants.                 )


                      Memorandum Opinion and Order

     David A. Alvarado filed this suit in the Circuit Court of

Will County, Illinois after sustaining injuries while operating a

forklift as part of his employment with Bay State Milling Company.

He brings several state-law tort claims against Bay State Milling,

the Raymond Corporation, and Drew Enterprises LLC. Raymond removed

the suit under 28 U.S.C. §§ 1441 and 1446, invoking this court’s

diversity jurisdiction under 28 U.S.C. § 1332. Raymond then moved

to dismiss the counts against it under Federal Rule of Civil

Procedure 12(b)(6). Bay State Milling has appeared in the case and

moved to dismiss the counts against it. Drew Enterprises has not

yet appeared and, according to Raymond’s amended notice of removal,

was not served by the time of removal.
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     Before    considering       Raymond’s    motion    to   dismiss,    I   must

determine whether I possess subject-matter jurisdiction over the

case. See Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006) (observing

that courts “have an independent obligation to determine whether

subject-matter jurisdiction exists, even in the absence of a

challenge from any party” (citation omitted)). As the proponent of

federal jurisdiction, Raymond bears the burden of demonstrating

its presence. See Meridian Sec. Ins. Co. v. Sadowski, 441 F.3d

536, 540 (7th Cir. 2006). Raymond asserts jurisdiction is proper

under   28   U.S.C.    § 1332,    but   fails     to   adequately   allege       the

citizenship of Drew Enterprises. As a limited liability company,

Drew Enterprises is a citizen of every state of which its members

are citizens. See RTP LLC v. ORIX Real Est. Cap., Inc., 827 F.3d

689, 691 (7th Cir. 2016). Yet the amended notice of removal fails

to identify these members or their citizenships, stating only that

Drew Enterprises is “listed as an Illinois limited liability

company with its principal place of business in Bolingbrook,

Illinois.” Am. Not. of Removal, ECF 2 ¶ 11. That is plainly

insufficient. See West v. Louisville Gas & Elec. Co., 951 F.3d

827, 829 (7th Cir. 2020) (“We’ve held repeatedly that there’s no

such thing as a [state name here] partnership or LLC, that only

the partners’ or members’ citizenships matter, and that their

identities    and     citizenship   must     be   revealed.”    (emphasis        and

brackets in original) (citation omitted)).

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       Raymond argues in its amended notice of removal that the

citizenship of Drew Enterprises is immaterial in any event because

it   was   fraudulently      joined.1    The   fraudulent     joinder    doctrine

“permits a district court considering removal ‘to disregard, for

jurisdictional purposes, the citizenship of certain nondiverse

defendants,      assume     jurisdiction       over   a   case,     dismiss        the

nondiverse defendants, and thereby retain jurisdiction.’” Schur v.

L.A. Weight Loss Ctrs., Inc., 577 F.3d 752, 763 (7th Cir. 2009)

(footnote omitted) (quoting Mayes v. Rapoport, 198 F.3d 457, 461

(4th Cir. 1999)). Fraudulent joinder is “difficult to establish”

and a defendant relying on it “faces a heavy burden” to demonstrate

its applicability. Id. at 764 (citations and internal quotation

marks omitted). The defendant “must show that, after resolving all

issues of fact and law in favor of the plaintiff, the plaintiff

cannot establish a cause of action against the in-state defendant.”

Poulos v. Naas Foods, Inc., 959 F.2d 69, 73 (7th Cir. 1992)

(emphasis in original) (citation omitted). In other words, the


1 If Drew Enterprises is an Illinois citizen, removal may be
improper under the forum defendant rule in addition to any concerns
regarding diversity jurisdiction. See Morris v. Nuzzo, 718 F.3d
660, 664–65 (7th Cir. 2013) (“A defendant removing a case on
diversity grounds must not only demonstrate that the case satisfies
the requirements of 28 U.S.C. § 1332(a), but must also clear the
‘additional hurdle’ of 28 U.S.C. § 1441(b)(2), or the ‘forum
defendant rule.’” (quoting Hurley v. Motor Coach Indus., Inc., 222
F.3d 377, 378 (7th Cir. 2000)). However, that obstacle is overcome
by the fact that at the time of removal Drew Enterprises apparently
had not been served. See 28 U.S.C. § 1441(b)(2) (applying only to
defendants “properly joined and served”).
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defendant must show the plaintiff has no “reasonable possibility

of success” against the nondiverse defendant. Schur, 577 F.3d at

764.2

        Raymond offers the following explanation for why Alvarado has

no chance of success against Drew Enterprises:

        Plaintiff alleges Drew Enterprises is a forklift
        maintenance company, but conversations with both Drew
        Enterprises and Bay State Milling indicate Drew
        Enterprises is merely a real estate holding company with
        no involvement in plaintiff’s accident or forklift
        maintenance. On January 24, 2025, counsel for Raymond
        spoke with the registered agent from Drew Enterprises
        who advised that Drew Enterprises did not have any role
        in plaintiff’s accident. Rather, Drew Enterprises merely
        owns a neighboring property to Plaintiff’s accident
        location at Bay State Milling. On January 27, 2025, a
        representative from Bay State Milling also indicated
        Drew Enterprises had no involvement with plaintiff’s
        alleged accident. On January 27, 2025, counsel for
        Raymond requested evidence from counsel for Plaintiff
        supporting his basis for liability against Drew
        Enterprises and has yet to receive a response. Counsel
        for Raymond has been unable to locate a website for Drew
        Enterprises.

Am. Not. of Removal ¶ 15.

        These   bare   statements    are    insufficient     to   overcome        the

allegations in Alvarado’s complaint regarding Drew Enterprises’

connection to his accident. See Compl., ECF 2 ¶ 3 (identifying

Drew Enterprises as “a material handling equipment supplier”); id.



2 As many courts have observed, though the doctrine is called
“fraudulent joinder,” “proof of fraud, though sufficient, is not
necessary for retention of federal jurisdiction.” Walton v. Bayer
Corp., 643 F.3d 994, 999 (7th Cir. 2011). “[A]ll that’s required
is proof that the claim against the nondiverse defendant is utterly
groundless.” Id.
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¶¶ 35–36 (alleging that the forklift at issue was “sold to,

warranted, rented, leased, and purchased by” Drew Enterprises);

id.     ¶ 41   (alleging     Drew   Enterprises      “contracted    to    purchase,

warrant, inspect, secure, repair, fix, and maintain” the forklift

used by Alvarado). With all questions of fact and law resolved in

Alvarado’s favor, see Poulos, 959 F.2d at 73, Raymond has not shown

Alvarado’s        claims     against        Drew   Enterprises      are    “utterly

groundless,” Walton, 643 F.3d at 999.

        Raymond’s failure to establish that Drew Enterprises was

fraudulently       joined     would    be    fatal   to   federal    jurisdiction

(assuming that Raymond cannot alternatively allege consistent with

Rule 11 that Drew Enterprises is not an Illinois citizen). Before

concluding that it has failed to do so, however, I will give

Raymond 30 days to file either a second amended notice of removal

or a brief explaining why jurisdiction is proper. In doing so, it

should bear in mind that in some limited circumstances, evidence

may be helpful in evaluating a claim of fraudulent joinder, though

it is sometimes inappropriate to consider if it goes to the merits

of the claim. See, e.g., Valles v. Pleasant, No. 1:22-cv-6484,

2023 WL 4999845, at *5 (N.D. Ill. Aug. 4, 2023) (“In evaluating a

claim of fraudulent joinder, a court may in some circumstances

pierce the pleadings and consider summary judgment-type evidence

such as affidavits and deposition testimony; therefore, a limited

use of affidavits and other evidence is permissible so long as the

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evidence is not used to pre-try the case.” (cleaned up)). Alvarado

may respond to Raymond’s submission within 21 days after it is

filed.




                                     ENTER ORDER:



                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge

Dated: June 2, 2025




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